                  THE THIRTEENTH COURT OF APPEALS

                                   13-12-00712-CV


               ARNOLD PEÑA, GUARDIAN OF JUAN CARLOS PEÑA
                                   v.
                   STATE OFFICE OF RISK MANAGEMENT


                                   On Appeal from the
                     206th District Court of Hidalgo County, Texas
                             Trial Cause No. C-893-11-D


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the judgment of the trial court should be REVERSED and the cause

REMANDED to the trial court.       The Court orders the judgment of the trial court

REVERSED and REMANDED for further proceedings consistent with its opinion. Costs

of the appeal are adjudged against appellee.

      We further order this decision certified below for observance.



September 11, 2014
